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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO

 In re:                           )
 LAKEVIEW DEVELOPMENT CORPORATION )                         Case No. 14-16938 EEB
 EIN: XX-XXXXXXX                  )                         Chapter 7
                                  )
                         Debtor.  )


             ORDER ESTABLISHING PROCEDURES AND BAR DATE FOR
               FILING MOTIONS FOR ALLOWANCE OF CHAPTER 11
                      ADMINISTRATIVE EXPENSE CLAIMS


         THIS MATTER comes before the Court on the Motion for Order Setting Deadline for
 Filing Requests for Payment of Chapter 11 Administrative Expense Claims, filed by the Chapter
 7 Trustee, Joli A. Lofstedt. The Court has reviewed the Motion and finds that cause exists for
 establishing a deadline for the filing of requests for payment of Chapter 11 administrative
 expenses. It is, therefore

        ORDERED that all entities or persons having claims against the Debtor which arose or
 were incurred between May 20, 2014 and April 11, 2016 shall be required to file with the Court a
 Request for Payment of Chapter 11 Administrative Expense by December 9, 2016; and it is

         FURTHER ORDERED that the form of Notice attached to the Trustee’s Motion is
 hereby approved, and the Trustee shall mail the Notice to creditors and other parties in interest
 and file a Certificate of Service with the Court.

        DONE this 7th day of September, 2016.

                                                     BY THE COURT:



                                                     Elizabeth
                                                            th E. Brown
                                                     United States Bankruptcy Judge
